       Case 3:24-cv-00496-RNC Document 45 Filed 07/16/24 Page 1 of 23



                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT

JANOS SANDOR,                                                )
ADMINISTRATOR OF THE ESTATE                                  )
OF XAVIER MITCHELL-SANDOR                                    )
                                                             )
                         Plaintiff,                          )
V                                                            )        No. 3:24-cv-00946-RNC
                                                             )
UNITED STATES OF AMERICA,                                    )
HUNTINGTON INGALLS INDUSTRIES, INC                           )
AND HUNTINGTON INGALLS                                       )
INCORPORATED                                                 )
                                                             )
                         Defendants                          )        JULY 16,2024

  LAINTIFF'S REPLY TO DEFE                ON INGALLS INC
 AND HUNTINGTON INGALLS INDUSTRIES. INC.'S OBJ        TO THE MOTION
                        FOR EXTENSION OF TIME
        Pursuant to Rule 7(d) of the Local Civil Rules, the Plaintiff in the above captioned

case files this reply to Defendants Huntington lngalls lncorporated and Huntington

lngalls lndustries, lnc.'s [hereinafter "Defendants Hll"] objection (Document No. 43) to its

Motion for Extension of Time filed on July '11,2024 (Document No. 40).

       The Plaintiff has made a prima facie case for the exercise of personaljurisdiction

simply by alleging in its complaint that jurisdiction exists under Conn. Gen. Stat. S 52-

59b. This Court has held that, when discovery has not yet been conducted, "the

plaintiffs prima facie showing may be established solely by reference to the

jurisdictional allegations in the complaint." Musso y. Serders, 194 F.R.D. 43, 48 (D.

Conn. 1999). ln Musso, this Court relied on the holding in the Second Circuit Court of

Appeals case Ballv. Metallurgie Hoboken-Overpelt, in which the Court concluded that

"the plaintiffs prima facie showing may be established solely by allegations." Ballv.




                         TFIE, R.EAR.DOI\T LA'w. FIR.IVI P.C.
                                            ttorneys    at       aw
 160 Hempstead Street - P.O. I)rawer 7430 - New London, C'r 06320 - Tel- (a6O) 442-0444 - Juris No. 102515
        Case 3:24-cv-00496-RNC Document 45 Filed 07/16/24 Page 2 of 23



Metallurgie Hoboken-Overpelt, S.A., 902 F.2d 194, 197 (2d Cir. 1990). ln both cases,

the Court determined that "the nature of the plaintiffs obligation varies depending on the

procedural posture of the litigation" and that "prior to discovery, a plaintiff challenged by

a jurisdiction testing motion may defeat the motion by pleading in good faith ... legally

sufficient allegations of jurisdiction." /d. Therefore, it is clear that, at this stage of the

litigation, the allegations in the Plaintiff's Complaint are enough to permit further

j u risd ictional d iscovery.


        However, if the Court finds that additional evidence is necessary to determine

whether the Defendants should be subject to jurisdiction of this Court, limited discovery

on the topic of personaljurisdiction should be allowed. ln fact, the Defendants set forth

facts outside of the Complaint in support of their argument that personaljurisdiction

does not exist, so depositions and written discovery on the topic would be appropriate.

        Should the Court conclude that a prima facie showing requires consideration of

specific evidence, the Plaintiff can provide sufficient contacts between Defendants and

the state of Connecticut to establish jurisdiction under C.G.S. S 52-59b. According to

c.G.s. $ 52-59b:

        As to a cause of action arising from any of the acts enumerated in this
        section, a court may exercise personaljurisdiction over any nonresident
        individual ... who in person or through an agent: (1) Transacts any
        business within the state ... (4) owns, uses or possesses any real
        property situated within the state; or (5) uses a computer, as defined in
        subdivision (1) of subsection (a) of section 53-451, or a computer network,
        as defined in subdivision (3) of subsection (a) of said section, located
        within the state.
        "The Connecticut Supreme Court has interpreted the language of Conn. Gen

Stat. $ 52-59b(a)(1)'to embrace a single purposeful business transaction."' Amerbelle

corp. v. Hommell,272 F. supp. 2d 189, 193 (D. conn. 2003), citing to Zartolas v.


                                                     2
                          THE REAR-I)ONI LAW- FIR.IVT. P.C.
                                         Attorneys       at Law
 160 Hempstead Street . P.O- Drawer 7430 - New London, CT 06320 - Tel. ( 60) 442-0444 . Juris No. 102515
       Case 3:24-cv-00496-RNC Document 45 Filed 07/16/24 Page 3 of 23



Nisenfeld, 184 Conn.471,474,440 A.zd 179 (1981). The Defendants have transacted

more than "a single purposeful business transaction" within Connecticut to avail

themselves of Connecticut law. They have numerous job postings listed within the state

at any one time, signing employment contracts with residents of Connecticut. (See

Exhibit A for current and recent job postings by the Defendants.) As these job postings

demonstrate, Defendants transact business in the state and have offsite offices located

in Groton and New London, Connecticut. With offices located in Connecticut,

Defendants have employees who use computers/computer networks in the state.

Further, through the Defendant's Annual 10-K filing, they have demonstrated that they

conduct business in the state by outlining their teaming agreement with Electric Boat

Corporation, a corporation headquartered in Groton, Connecticut. (See Exhibit B for

the relevant pages of Defendants' 10-K filing, pg. 3) The Defendants frequently work as

subcontractors to Electric Boat, being awarded contracts to integrate product and

process development. (See Exhibit B, pg. 51-52.)

       While a threshold showing that there is basis for personaljurisdiction has been

made, limited discovery on the topic should be permitted and this Motion for Extension

of Time to conduct discovery should be allowed. Such discovery is and has been

permitted, especially in cases where the facts needed to show jurisdiction would not be

openly available for the Plaintiff, such as facts pertaining to government contracts.

       A plaintiff who is a total stranger to a corporation should not be required,
       unless he has been undiligent, to try such an issue on affidavits without
       the benefit of full discovery. lf the court did not choose to hear witnesses,
       this may well have been within its province, but in such event plaintiff was
       certainly entitled to file such further interrogatories as were reasonably
       necessary and, if he wished, to take depositions. The condemnation of
       plaintiffs proposed further activities as a 'fishing expedition'was



                                                       3
                         TFIE REAR-DON LAW FIR-N,{ P.C.
                                            ttornevs       at   I-aw
 160 Hempstead Street - P.O- f)rawer 7430 - New London, C'f 06320 . Tel. (86O) 442-0444 . Juris No. 102515
       Case 3:24-cv-00496-RNC Document 45 Filed 07/16/24 Page 4 of 23



        unwarranted. When the fish is identified, and the question is whether it is
        in the pond, we know no reason to deny a plaintiff the customary license.

Surpitski v. H ughes-Keenan Corp., 362 F.2d 254, 255-56 (1 st Cir. 1 966).

       As such, Plaintiff requests that the Court overrule Defendants Hll's objection and

grant its Motion for Extension of Time.



                                                         THE PLAINTIFF,


                                                         By lsl Elizabeth R. Tress (c131656)
                                                         Elizabeth R. Tress, Esq. (c131656)
                                                         Kelly E. Reardon, Esq. (ct28441)
                                                         Robert l. Reardon, Esq, (ct05358)
                                                         THE REARDON LAW FIRM, P.C.
                                                         160 Hempstead St
                                                         PO Drawer 1430
                                                         New London, CT 06320
                                                         Email : kreardontOreard onlaw.com
                                                         Email : rreardon(0 reardonlaw. com




                                                    4
                         THE REARDONT LA'W FIR.I\/{ P.C
                                         Attorneys   at Law
 160 Hempstead Street . P-O. Drawer l43O .New London, C:T 06320 - Tel. (a6O) 442-0444 . Juris No. 102515
         Case 3:24-cv-00496-RNC Document 45 Filed 07/16/24 Page 5 of 23



                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF CONNECTICUT

JANOS SANDOR,                                                )
ADMINISTRATOR OF THE ESTATE                                  )
OF XAVI ER MITCHELL-SAN DOR                                  )
                                                             )
                         Plaintiff,                          )
V.                                                           )        No. 3:24-cv-00946-RNC
                                                             )
UNITED STATES OF AMERICA,                                    )
HUNTlNGTON INGALLS INDUSTRIES, INC                           )
AND HUNTINGTON INGALLS                                       )
INCORPORATED                                                 )
                                                             )
                         Defendants                          )        JULY 16,2024

                              AFFIDAVIT OF ELIZABETH R. TRESS
         l, Elizabeth R. Tress, being duly sworn depose and say:

         L I am over the age of 18 and believe in and understand the obligations of an
            oath.
         2. I am an attorney at The Reardon Law Firm, P.C. and I represent the Plaintiff in
            the above-named action.
         3. Attached as ExhibitA is a true and accurate copy of job postings lfound
            posted online and printed on June 17 ,2024 and July 15,2024.
         4. Attached as Exhibit B is a true and accurate copy of the relevant pages of the
            Defendants'2023 Form 10-K printed on July 16,2024.




                                                             Elizabeth R. Tress, Esq
Subscribed and sworn to by me,
the u.ndersigned officer, on this
_l$a oay of        _trU[/_,2024

                                                   RENEE WATROUS
Notary      biic                                     NOTARY PWUC
                                                 My Commlssion Explres Apr.30,2028



                                                        5
                         THE REARDOI\ LA.w' FIR.WI P.C
                                              ttorneys   at   aw
 160 Hernpstead Street . P-O- Drawer 1430 .   New London, CT 06320 - Tel. (a6O) 442-0444 - Juris No- 102515
      Case 3:24-cv-00496-RNC Document 45 Filed 07/16/24 Page 6 of 23
                                                                          a
                                  CERTIFICATE OF SERVICE
       I hereby certify that, on July 16, 2024, a true and correct copy of the foregoing
was served electronically on all counsel of record via CM/ECF.


                                                         By /s/ Elizabeth R. Tress (c131656)
                                                         Elizabeth R. Tress, Esq. (ct31656)
                                                         Kelly E. Reardon, Esq. (c128441)
                                                         Robert l. Reardon, Esq. (c105358)
                                                         THE REARDON LAW FIRM, P.C.
                                                         160 Hempstead St
                                                         PO Drawer 1430
                                                         New London, CT 06320
                                                         Email : kreardon@reardonlaw.com
                                                         E ma i I : rrea rd qn @.rea rd on la},y.
                                                                                                  -cor_n




                                                   6
                       TI{E R-EARDON LA.w- FIR.WI P.C
                                       Attorneys       at Law
160 Hempstead Street . P-O- Drawer l43O . New London, CT 06320 . Tel. (a6O) 442-0444 . Juis No. 102515
      Case 3:24-cv-00496-RNC Document 45 Filed 07/16/24 Page 7 of 23




                                                  EXHIBIT A




                                                      7
                        THE REAR.DON LA.w- FIRI\/I P.C
                                            ttorneys    at
160 Henpstead Street - P-O. Drawer l43O -   New London, CT 06320 - Tel. (a6O) 442-0444 - Juris l\lo. 102515
 6117i24,3:33 PM                                                                  huntington ingalls jobs connecticut
                           Case 3:24-cv-00496-RNC Document 45 Filed 07/16/24 Page 8 of 23
       + Google i q huntington ingalls jobs connecticut
                                             Near Connecticut
                                                                                                                                             X                                            .3
                                                Jobs                               $aved                                     Alcrts


       #           Looation Date posted New to you Requirements Type                                                                                          Feedback   !:.   e;:i'.,: J:li:i\l



           2 n1j           5mi       15 mi                             200   mi , Anywhere                  afi     , ,lr' Work from home i Groton, cT  r                        j




                     PRODPLNGAND                                     il
           Hil       SCHEDULER 1 - GROTON,
                     CONNECTICUT
                     Huntington lngalls
                                                                                       PROD PLNG AND                                                                                 f,l snve
                     Groton, CT                                                        SCHEDULER 1 .
                     via Huntington lngalls lndustries - Hll
                                                                                                                  rnsa's
                     $ z oays rso 1| Full-time $ Healtrr insurance                     $sxir :,T::ston
                     fi Dental insurance

                     PROD PLNG AND
                     SCHEDULER 1 - GROTON,
                                                                     il                     A*i:|i, *ir l-li:riiii-"r$tsi-r ln{}nil...   ,{$}i}lr- $n       lip:lllx:rtiicr           Ai:pfy r:ri i
                     CONNECTICUT
                     Huntington lngalls Industries

                     via   Adzuna                                             :




                     $ s days aso - Full-time {$ Health insurance                     Job highlights
                                                                                      ldentifled by Google from the original job posr
                     ff Dental insurance
                                                                                       Qualifications                                       Responsibilities
                                                                                       . ClearanceRequired: No-                             . This role is located at Electric
                                                                                           Clearance Not Required to Start                     Boat in Groton, CT and will
                                                                                       . Bachelor's Degree and 0 years of                      support Planning and...
                                                                                           relevant exempt experience                       . This position coordinates
                                                                                                                                               planning and material
                                                                                       . One of the following may be
                                                                                                                                               management efforts for...
                                                                                           used as equivalent to Bachelor's
                                                                                           Degree to meet minimum...                           5 more items

                                                                                       . NNS Apprentice School                              Benefits
                                                                                           graduate

                                                                                       . Navy Nuclear Power School                          " Virtual/Telework Opportunity:
                                                                                                                                              Yes - Occasional or hybrid
                                                                                           (NNPS) graduate
                                                                                                                                              telework available
                                                                                       . Associate's Degree or other                       . Salary Range: $56,134.00 to
                                                                                         formal 2 year program and 2
                                                                                                                                              $63,067.00
                                                                                         years of relevanl exempt...
                                                                                                                                              2 more iiems
                                                                                           5 more items


                                                                                                                              More job highlights




                                                                                      Job description
                                                                                      Req lD:37892


                                                                                      Team: X83 GRTN NSSN DS/BLD.
              Nrw 1*f: *i*ilri


https://wwwgoogle.com/search?q=;'1un1|tt1on+ingalls+jobs+connecticut&rlz=1         C1 CHBD_enUS1 051US 1 051&oq=hunlfitton+ingalls+&gs_lcrp=EgZjaH...                                              1!1
 6117124,3:34 PM                           PROD PLNG AND SCHEDULER 1 - GROTON, CONNECTICUT Job Details I Huntington lngalls
                        Case 3:24-cv-00496-RNC Document 45 Filed 07/16/24 Page 9 of 23


       Fl{ HII
                                                                                                                                  q=
                Search by Keyword



                Search by Location



                Show More Options

               ii{:i}rfii J$iis
             Clear




        Select how often (in days) to receive an alert:   7            a Create Alerl


                                                                                                                                      i\pp{ii gliii,v v




       PROD PLNG AND SCHEDULER 1 . GROTON, CONNECTICUT
       Location: Groton, Connecticut, United States
       Date: Jun 11,2024
       Req lD: 37892
       Team: XB3 GRTN NSSN DS/BLD
       Entity: Newport News Shipbuilding
       US Citizenship Required for this Position: Yes
       Full-Time
       Shift: 1st
       Relocation: No relocation assistance available
       Virtualffelework Opportunity: Yes - Occasional or hybrid telework available
       Travel Requirements: Yes, up to 10% of the time
       Glearance Required: No - Clearance Not Required to Start
       Salary Range: $56,134.00 to $63,067.00

       Meet Hll's Newport News Shipbuilding
       With more than 25,000 employees - including third-, fourth- and even fifth-generation shipbuilders
                                                                                                              - Hll's Newport News Shipbuilding
       (NNS) division is the largest industrial employer in Virginia. We're the sole designer, builder and refueler of U.S. Navy nuclear aircraft
       carriers and one of two providers of U.S. Navy nuclear submarines. Our diverse and innovative team of professionals ranges from skilled
       trades to project managers, engineers and software developers to solution architects, technical subject matter experts, and system
       users' Anchored in our rich, 135-year history, we collaborale together at the forefront of technology, manufacturing, and integration of the
       most powerful and survivable naval ships in the world. Want to be part of the team? Apply todayl We look forward to meeting you.


       The Role
       This role is located at Electric Boat in Groton, CT and will support Planning and Production Control for Newport News Shipbuilding's
       (NNS) Submarine Program Field Office in Connecticut. This position coordinates planning and material management efforts for
       COLUMBIA Class Submarines across multiple disciplines, (e.9. Mechanical, Electrical, Structural, and Piping).


      Reviews material production schedules, required in-yard need dates, and coordinates material requirements and NNS/EB shipyard
      transfers to ensure materials are available to meet production requirements. Plans, prepares, issues and controls production schedules
      and coordinates with material requirements to ensure a controlled flow of approved materials timed to meet production requirements.
      Advises managemenl of the status of work in progress, material availability, and potential production problems to ensure that personnel,
https://careers.huntingtoningalls.com/job/Groton-PROD-PLNG-AND-SCHEDULER-1-cROTON%2C-CONNECTICUT-Conn/1178069300/                                         1t3
             Case 3:24-cv-00496-RNC Document 45 Filed 07/16/24 Page 10 of 23
 wHAruoesSf

 :r     Software Engineer"..


 fl     Software Engineer 1 4 (SkillBridge Intern)


   I    Hanover

                  $**a**t "$c}hs
                                                 {.*l*t*}

H0nns > $s-ft"wars-Engineerl:**{Skillbrid$e-.I"nt*rnL        >>   software Engineer 1-4 (skillbridse rn




     Job Details
          Hanover, Connecticut, United States

          Huntington Ingalls Industries

          07/05/2024




                                                              Ay*gt$y T* -.**r$l




     FullJob Description
     Requisition Number: B3S0Required Travel: 0 - 1Oo/oEmployment Type: Temporary
     WorkerHours Per Week: 40.OOSecurity Clear ance: Secretlevel of Experience: MidJob
     DescriptionProgram of Instruction (POI)This is an UNPAID internship through the DoD
     SkillBridge Program for transitioning active-duty US military personnel. DoD SkillBridge
     Internships are available to help transitioning active-duty military personnel gain real-world
     experience in the work force sometime during their final 180 days of active-duty service.
     The intern will actively train on meaningful projects and work closely with a mentor and
     senior company leadership, HiI Mission Technologies Internship programs are focused on
     placing transitioning military into internships that require KSAs, Education & Military Train
similar toCase
           their3:24-cv-00496-RNC     Document
                 current or previous military     45 positions
                                               jobs;  Filed 07/16/24 Page 11 of 23
                                                               that could easily transition over to
a full-time regular  and permanent   job  with HII.Essential Job ResponsibilitiesFor this
internship, the SkillBridge intern will train as a Software Engineer with HII Mission
Technologies, reporting to a designated HII Mission Technologies Supervisor, with the goal of
offering you the opportunity to work alongside subject matter experts and assist in providing
critical support to our clients. Our experts will provide on-the-job training, and ensure
interns complete our program with the confidence to accurately apply and perform the skills
Iearned in this internship throughout their future careers. This internship not only provides
you the opportunity to gain valuable work experience in a professional environment, but also
allows you a look at what HII Mission Technologies can offer you as an employee.Desired
End State (3 - 4 month target)At the end of four months, the intern will be able to develop
products using various programming languages as needed during their time, understand
how to test their code, work with an agile software engineering team,The intern will develop
a good understanding of the aspects of software development equipment, configurations,
operation, and troubleshooting procedures. This includes:Software Configuration
Management tools - such as GitAutomated testing tools such as Jenkins and SonarSoftware
Ticket Systems such as Jiralntegrated Development Environments (product
dependent)Mission Technologies will benefit from the military background of the SkillBridge
intern and considers the SkillBridge internship an overall positive experience.Assumptions -

Clearance.SkillBridge Intern will be available during core hours for critical meetings and
training.Training PlanPhase 1 - BasicsWeek 1: In processing, Introductions/office
familiarizationWeek 2: Intro to Software Product Teams - JSAF, JBUS, NEXUS, Watchtower,
NEWTTWeek 3: Intro to Software Integrated Development Environment & Programming
Language assessments (C++, Java, Javascript, or related in Linux Environment)Week 4:
Intro to NCTEWeek 5: Intro to Agile/ScrumPhase 2 - Agile DevelopmentWeek 6: Product
Development Bug FixingWeek 7: Product Development Peer ReviewWeek B: Product
Development Developer TestingWeek 9: Product Development FeaturesPhase 3 - Product
Troubleshooting & Maintenance/ NCTE Processes and AdministrationWeek 10: Product
Troubleshooting & tools (Product Dependent, Debuggers, Loggers, Test Environment)Week
11: System Troubleshooting &tools (Red Hat, Windows depending on product)Week 12:
NCTE administration, JIRA & Confluence trainingWeek 13: NCTE Process Asset Library
(PAL)Additional GoalsEvent SupportProduct Sprint PlanningMinimum QualificationsActive-
Duty Military ONLY within final 180 days of active-duty service. Education and Experience
dependent on Program of Instruction.Bachelor's Degree in related fieldMust have a
current/active DoD Secret Security ClearancePreferred RequirementsPhysical
RequirementsPhysical Requirements will vary and is dependent on the Program of
Instruction.HII is a global engineering and defense technologies provider. With a 135-year
history of trusted partnerships in advancing U.S, national security, HII delivers critical
capabilities ranging from the most powerful and survivable naval ships ever built, to
unmanned systems, ISR and AIIML analytics. HII leads the industry in mission-driven
solutions that support and enable a networked, all-domain force. Headquartered in Virginia,
HII's skilled workforce is 44,000 strong. For more information, please visit: hii.com ( .HII's
Mission Technologies division develops integrated solutions that enable today's connected
all-domain force. Capabilities include CSISR systems and operations; the application of
and machine learning to battlefield decisions; defensive and offensive cyberspace strateg
          Case 3:24-cv-00496-RNC Document 45 Filed 07/16/24 Page 12 of 23
and EW; unmanned, autonomous systems; LVC solutions; platform modernization; and
critical nuclear operations. Together, HII's domain expertise and advanced technologies
support mission partners anywhere around the globe. For more information, visit
tsd.huntingtoningalls.com.Hll is an Equal Opportunity/Vets and Disabled Employer. U.S.
Citizenship may be required for certain positions.



                                                                                ReportJob   r




Similar Jobs

I   entry Level Class A CDL Truck Driver - HIRING IMMEDIATELY NO EXPERIENCE!


     Western Express

     to*tud rodav
J
I   entry Levelsales Representative
     21098 Hanover, United States

     Southern National Roofing

     tott"d rodav
J
I   entry LevelAutomotive Technician - FT
     Full Time

    21098 Hanover, United States

    Avis Budget Group

    Posted 1 Day Ago


I   entry LevelAutomotive Technician - PT
    Part Time

    21098 Hanoveq United States                                                           +
                                 Case 3:24-cv-00496-RNC Document 45 Filed 07/16/24 Page 13 of 23
 Weusecookiesandsimilartechnologiesonthissitetoenhancefunctionality,anaLyzetrafficandusage,anddeliverpersonalizedcontent.S                                                i-6'arnl.ioi!            I Arri{iii{




                                                                                                                                                                                                    DEMO
                                                                                                                                      a

 H(i$\i) .       .iob.e   S(i[::h .      l\4aterial handLing in Huntington lngatls lndustries




                                                        Materiathandling                                                             O, :   fiidgefield,   cr v                 :i*;li{ li




                                      c-.t^ *                                                            n^-,.,"(,\   /Piat€r.^                                                 r^L
                                                                                                                                                                                      ^^."-t+-,.
MateriaI tranaiirig
Hunt$igftlil,n!:all:,lr!cusfries JobopeninBsatHuntingtonlngallslndustries                            +
Ridgefield, CT
                      . Full Time
POSTED ON 5/20/2024

AVAI LAB L E BEF ORE 9 / t7 I 2oz4



Job Posting for Materiat handling at Huntington lngalls lndustries

Beguisition Number : 19489
Be.guiledlraveL o - 1oo/o
EmplsymcnLlypg FullTime / Hourly / Non-Exempt
Anticipated Salary Range: S35,048.00 - S40,705.00

Securitv Clearance : None
Level of Expgden!il Entry Level

Meet Hll's Mission Technologies Division
Our team of more than 7,000 professionals worldwide delivers all-domain expertise and advanced technologies in service of mission par-tners across the globe.

lVission TechnoLogies is leading the next evolution of national defense the data evotution - by accelerating a breadth of national security solutions for government and
commerciaI customers.
Our capabilities range from C5lSR, Al and Big Data, cyber operations and synthetic training environments to fleet sustainment, environmental remediation and the largest
family of unmanned underwater vehictes in every class.

Find the role that's right for you. Apply ioday. We look forward to meeting you.

To learn more about Mission Technologies, click here for a shorl video :

Who WeAre

We are seeking Materials Handling Support personnelwho wilt be performing Shipping, Receiving, and potentiatty Forktift driving at our [ocal warehouse.

This is a full-time regu lar position located at our National City warehouse.

As the top ranked defense contractor on Forbes list of America's Best La rge Employers,
                                                                                     H ll is committed to serving ou r employees, our communities, our service mem bers,

and our nation! We offer competitive benefits, education reimbursement, and professional development opportunities.

What You Will Do

Performs a combination of manual and clerical shipping and / or receiving duties which may require the use of hand trucks, forklifts, and other devices, as wetl as computers
to maintain data.
Receives incoming materials or prepares materiats for shipment. Verifies quantity, weight, and conformance of materials;

prepares records of materials shipped and bitts of lading; routes materials to destinations. May lay out, fabricate, and assemble nonstandard shipping crates and boxes, and
prepare parts and tooling for special shipment.

Receiving

Physicatly receive items that are delivered to facility
Place items in proper cages / places (using forklift, etc)
Physicatly inventory (verifying packing slip with shipment)
Entering shipment / materiaI info into Costpoint Financial System within specified limits
aY..,^   ,"^*.        ia{i   }^*a*{}hJ          -ea\}     L{^^,   ah   **^}^i,.-   -   -a*^rd..^$s       re{+iyi-t    i?^-aJ,!,'.4




                                                                                                                                                           2 Easy Steps
                                                                                                                                                           1. Click "€sntinur
                                                           iluvxt$sxr*u                                                                                    2. Add Securify f(
Daity inspections
                        Case 3:24-cv-00496-RNC Document 45 Filed 07/16/24 Page 14 of 23
Communicate to supervisor regarding maintenance / repair
Make decisions without direct supervision regarding : (note r usually employee would have opportunity to talk with others if needed)

o Hazmat related

o Load related

o Safety related

Shipping

Shipping to other facilities, task sites, vendors
Communicate directly with employees and teams on shipment details
Collect estimates for shipping vendor selection
Miscellaneous facility duties as per supervisor

Experience with tool tracking software program a plus
Experience with ToolTracker a plus
Check in / check out tools
Sea rch for tools in database to hetp out teams (smatler facitity)

General facility housekeeping
Assist in generalfacility projects (cage build, rack build, movement of areas and material)

Perform LPA duties for travel teams in operations not generally located in San Diego

Next [eve[ of procedures for government material handting
Storage
Kitting
Labeling
Entering into database (eQuip)


What You Must Have

Must have Logistics / Supply Receiving experience.

Shipping Experience -
Must have experience inventorying

Must have experience using ToolTracker

Must have experience with Costpoint- Purchasing / Receiving financiaI system

Must have experience with eQuip- Material tracking system

Job Performance may require lifting and moving of furniture, supplies and equipment.
Must be a US citizen and have a vatid driver's license.

High School Diploma or equivalent and 2 years additional education and / or related experience.

Preferred Requirements

Experienced and certified to drive a Forklift preferred.

Physical Requirements

Ability to lift forty pounds, carry and transport heavy equipment and boxes and work in high heat / cold environments, aboard ships, under industrial conditions, in confined
spaces, at heights, and in extreme weather

Ability to operate portable power tools. Work may invotve ctimbing and working on ladders.

Hll is more than a job - ii's an opportunity to buitd a new future. We offer competitive benefits such as best-in-ctass medical, dental and vision plan choices;
wellness resources; employee assistance programs; Savings Plan Options (401(k)); financial planning tools, life insurance;
employee discounts; paid holidays and paid time oft tuition reimbursement; as well as early chitdhood and post-secondary education scholarships.

WhY Hll

We build the world's most powerfu[, survivable navaI ships and defense technology solutions that safeguard our seas, sky, land, space and cyber.

Our diverse workforce includes skilled tradespeopte; artificial intelligence, machine learning (Al / ML) experts; engineers;

technologists; scientists; logistics experts; and business administration professionals.

Recognized as one ofAmerica's top large company employers, we are a values and ethics driven organization that puts people! safety and wetl-being first.

Regardless of your role or where you serve, at Hll, you'll find a supportive and welcoming environment, competitive benefits, and valuable educational and training programs
for contin ual career growth at every stage of you r career.
v.,
                     Case 3:24-cv-00496-RNC Document 45 Filed 07/16/24 Page 15 of 23
Do Ybu Need Assistance?

lfyou need a reasonable accommodation for any paft ofthe employment process, please send an e-mait to and let us know the nature of your request and your contact
information.
Reasonable accommodations are considered on a case-by-case basis. Please note that only those inquiries concerning a request for reasonable accommodation will be
responded to from this email address.
Additionally, you may also call 1-8,14-849-8463 for assistance. Press #3 for Hll Mission Technologies.
Last updated : 202+06-19


                                                                                   View Less


!l Apply for this job
!| Receive alerts for other Material handtingjob openlngs
       fleport this Job




                                                                                            2 Easy Steps

                                                                                            1. Click "Coniinue"
                          Ccntinus
                                                                                            2. Add Securify for Chrom




  Salary.com fstimation for                             &in Rldgefield,g

  S+taqz - $sg,geg
  For l:mpioyer

  Looking to price a job for your company?


    What job title are you looking to price?r


     PriceThisJob J



   roR gt4pL0Y[,R

   lf your compensation planning software is too rigid to deploy winning incentive strategies, it's time to find an adaptable solution.

                                                                                                                                    tr:*lp*trsuthu lslir*ni;r6 ..:r



   LOOKING FOR ACCURAIS SALARY PATA?

   Enhance your organization's compensation strategy with salary data sets that HR and team managers can use to pay your staff;ight,

                                                                                                                                          s$fvey$ $ s$t$ ss\$ -:\




            t:.receive a]erT about other jobsthat are on the Material handting career path.
_tjgr.rO.
             Case 3:24-cv-00496-RNC Document 45 Filed 07/16/24 Page 16 of 23
                                                  J-o,b-s         IooJs            Emplsyer                CI




  o           Huntington lngalls lndustries
 -^-   ^j     PROJECT MANAGEMENT ANALYST 2


ElPosted i9 weeks 5 days ago                                                                        a
                             To see more jobs like this as they come available

                                              Set Job Alerts

                              Visit the Career pagg to search more jobs now
                                       Scrollto the bottom to apply


Req lD:36109

Team: X83 GRTN NSSN DS/BLD

Entity: Newport News Shipbuilding

US Citizenship Required for this Position: Yes

Full-Time

Shift: 1st

Relocation: No relocation assistance available

VirtuaUTelework Opportunity: Yes - Occasional or hybrid telework available

Travel Requirements: Yes, up to 10% of the time

Clearance Required: No - Clearance Not Required to Start

Salary Range: $65,468.00 to $86,138,00

Meet Hll's Newport News Shipbuilding

With more than 25,000 employees - including third-, fourth- and even fifth-generation shipbuilders -
Hll's Newport News Shipbuilding (NNS) division is the largest industrial employer in Virginia. We're the
sole designer, builder and refueler of U.S. Navy nuclear aircraft carriers and one of two providers of
U.S. Navy nuclear submarines. Our diverse and innovative team of professionals ranges from skilled
trades to project managers, engineers and software developers to solution architects, technical subject
matter experts, and system users. Anchored in our rich, 13S-year history, we collaborate together at
            Case 3:24-cv-00496-RNC Document 45 Filed 07/16/24 Page 17 of 23
                               Paths             Jehs             TqoJs             Ennplsycr                a,
The Role

This position is located in the Newport News Shipbuilding offsite liaison office, dept. X83, located at
Electric Boat in Groton/New London, CT.

Oversees and manages the operational aspects of ongoing projects and serves as liaison between
project management and planning, project team, and line management, Reviews status of projects and
budgets; manages schedules and prepares status reports. Assesses project issues and develops
resolutions to meet productivity, quality, and client-satisfaction goals and objectives. Develops
mechanisms for monitoring project progress and for intervention and problem solving with project
managers, line managers, and clients.

Maintains metrics, develops reports, analyzes data, and develops written assessments that are used
for presentations to internal and external customers on a weekly, monthly, and quarterly basis.

Must Have

Bachelor's Degree and 3 years of relevant exempt experience; Master's Degree and 1 years of relevant
professiona I experience

One of the following may be used as equivalent to Bachelor's Degree to meet minimum qualifications:

* NNS Apprentice School graduate
* Navy Nuclear Power School (NNPS) graduate
* Associate's Degree or other formal 2year program and 2 years of relevant exempt experience or 4
years of relevant non-exempt experience
x Military Paygrade E-5 or above military experience
* High SchooUGED and 4 years combined of Manufacturing, Shipbuilding, Trades, Military experience
or other relevant exempt experience
* High SchooUGED and 8 years combined of Manufacturing, Shipbuilding, Trades, Military experience
or other relevant non-exempt experience

Nice to Have

Knowledge in Microsoft Office products.

Why Hll

We build the world's most powerful, survivable naval ships and defense technology solutions that
safeguard our seas, sky, land, space and cyber. Hll's diverse workforce includes skilled tradespeople;
artificial intelligence, machine learning (AUML) experts; engineers;technologists; scientists; logistics
experts; and business administration professionals.

Recognized as one of America's top large company employers, we are a values and ethics driven
organization that puts people's safety and well-being first. Regardless of your role or where you serve,
at Hll, you'll find a supportive and welcoming environment, competitive benefits, and valuable
educational and training programs for continual career growth at every stage of your career.

Working at Hll is more than a job - it's an opportunity to build a future. We offer comprehensive benefits
including: medical, prescription drug, dental and vision plan choices, on-site health centers, tele-
medicine, wellness resources, employee assistance programs, savings plan options (401K), financial
ffi
                Case 3:24-cv-00496-RNC Document 45 Filed 07/16/24 Page 18 of 23
                                 Paths              Jobs                  T,ools       E"mBlsysr                a\


  Together we are working to ensure a future where everyone can be free and thrive.

  Today's challenges are bigger than ever, and the nation needs the best of us. lt's why we're focused on
  hiring, developing and nurturing our diversity. We believe that diversity among our workforce
  strengthens the organization, stimulates creativity, promotes the exchange of ideas and enriches the
  work lives of all our employees.

  All qualified applicants will receive consideration for employment without regard to race, color, religion,
  gender, gender identity or expression, sexual orientation, national origin, physical or mental disability,
  age, or veteran status or any other basis protected by federal, state, or local law, U.S. Citizenship may
  be required for certain positions.

  Do You Need Assistance?

  lf you need a reasonable accommodation for any part of the employment process, please send an e-
  mail to buildyourcareer@hii-co.com and let us know the nature of your request and your contact
  information. Reasonable accommodations are considered on a case-by-case basis. Please note that
  only those inquiries concerning a request for reasonable accommodation will be responded to from this
  e-mail address.

  Additionally, you may also call l-844-849-8463 for assistance. Press #2 tor Newport News
  Shipbuilding.




  Use the apply button below to start the application on our partner site.


                                           Apply *n e*l;.:l*y*.\F riit*


                        Find more jobs like this using our Career Search Tool.
  Need help with your career search including preparing your resume, networking, company research or
  even figuring out what kind of job you want? Check out our other career resources.




About Us                                          My Acccunt
Find a Jobtree                                    FAQ

Terrrs of Use                                     B{cgs
Jr:bs Terms and Conditions                        $itemap
      Case 3:24-cv-00496-RNC Document 45 Filed 07/16/24 Page 19 of 23




                                                EXHIBIT B




                                                    8
                        THE REAR.DON LA.w"FIR-}VT, P.C.
                                        Attorneys       at Law
160 Hempstead Street . P-O. Drawer l43O - New London, CT 06320 . Tel- (860) 442-0444 . Juris No. 1C)2515
                                 Case 3:24-cv-00496-RNC Document 45 Filed 07/16/24 Page 20 of 23
                                                                 UNITED STATES
                                                     SECURITIES AND EXCHANGE COMMISSION
                                                                                  Washington, D.C.20549

                                                                                          FORM 1O.K
E        ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                          For the fiscal year ended Decembet 31, 2023
                                                                OR
tr        TRANSTTION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934

                                                                           Commission file number 00{-34910

                                              HUNTINGTON INGALLS INDUSTRIES, INC.
                                                                         (Exact name of regislrant as specified in its charter)
                                              Delaware                                                                                      90.0607005
                      (State or other jurisdiction of incorporation or organization)                                              (l.R.S. Employer ldentification No.)

                                                              410't Washington Avenue, Newpon News, Virginia 23607
                                                                         (Address of principal executive offlces and zip code)

                                                                                           (757) 380-2000
                                                                        (Registrant's telephone number, including area code)

                                                              Securities registered pursuant to section 12(b) of the Act:
                    Title of each class                                           TradingSymbel{S}                                    Name of each exchange on which registered
                       Common Stock                                                         Hll                                                     NewYork Stock Exchange
                                                              Securities registered pursuant to section 12(g) ofthe Act:
                                                                                        None

lndicate by check mark if the regislrant is a welFknown seasoned issuer, as defined in Rule 405 of the Securities Act. Yes        E No D
lndicatebycheckmarkiftherogislrantisnotrequiredtofil€reportspursuantloSectionl3orl5(d)oftheAct.Yasn                          No E


such shorier period that the registrant fras requiied to file such ieports), and (2) has been Subject to such filing' requirements for lhe pasig0 days. Yes E
                                                                                                                                                              -No b


chapter)duringtheprecedingl2months(orforsuchshorterperiodthattheregislrantwasrequiredtosubmitsuchfiles). Yes E No tr


definitions of "large accelerated tiler," "accelerated filer," "smaller reporting company," and "emerging groMh company" in Rule 12b-2 of the Exchange Act.

Large Accelerated Filer              E                                                                                                       Accelerated fller                             tr
Non-accelerated filer                D                                                                                                       Smaller reporting company                     D
                                                                                                                                             Emerging growth company                       D


standards provlded pursuant to Section 1 3(a) of the Exchange Act. D


Section 404(b) of lhe Sarbanes-Oxley Act (1 5 U.S.C. 7262(bD by the registered public accounting firm that prepared or issued ils audit reporl       I
lf securities are registered pu rsuant to Section 12(b) of the Act, indicate by check mark whether lhe financial statements of the registrant included in lhe filing reflect the conection of an error
to previously issued financial slatements. n


executive olficers during the relevant recovery period pursuant to S 240.10D-1 (b).   !
lndicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Act). Yes        !    No tr


approximately $9,075 mill ion.

As of January 26, 2024, 39,590,687 shares of the registranfs common stock were outstanding.

                                                                     DOCUMENTS INCORPORATED BY REFERENCE

incorporated by reference in Pan lll oflhis Form 10-K.
                        Case 3:24-cv-00496-RNC Document 45 Filed 07/16/24 Page 21 of 23

active service, 23 were delivered by Newport News. Our nuclear submarine program, located at our Newport News shipyard, includes construction,
engineering, design, research, and integrated planning.

        Virginia C/ass (SSN 774) Submarines

We have a teaming agreement with Electric Boat Corporation ("Electric Boat"), a division of General Dynamics Corporation ("General Dynamics"), to
build Virginia class (SSN 774) tasl attack nuclear submarines. Under the teaming arrangement, we build the stern, habitability and machinery spaces,
torpedo room, sail, and bow, while Electric Boat builds the engine room, control room, and pressure hull structure. Work on the reactor plant and the
final assembly, test, outfit, and delivery of the submarines to the U.S. Navy alternates between Electric Boat and us.

The four submarines of the first block, six submarines of the second block, and eight submarines of the third block of Virginia class (SSN 774)
submarines have been delivered. ln 2014, the team was awarded a construction contract for the fourth block of ten Virginia class (SSN 774)
submarines, which contemplated production of two submarines per year. The first submarine of the Block lV contract was delivered in 2020, and three
more submarines have been delivered through 2023. The remaining six boats of the Block lV contract are in the final assembly and test phases of
construction.

ln 201 9, the team was awarded a construction contract for the fifth block of nine Virginia class (SSN 774) submarines, and, in 2021 , an option for a 1 Qth
submarine was exercised, continuing the two submarines per year production rale. Ten of the Block V boats are in manufacturing and outfitting stages
of construction.

ln 2023, the team was awarded a contract modification for advance procurement for long lead-time material in support of two additional Block V boats,
bringing the total Block V boats to 12. ln addition, the team received a contract award for advance procurement of long-leadtime material in support of
the first two Block Vl boats.

        Columbia Class (SSBN 826) Submarines

Newport News is participating in the design and construction of the Columbia class (SSBN 826) submarines as a replacement for the current aging Ohio
class nuclear ballistic missile submarines ("SSBN"), which were first introduced into service in 1981. The Columbia class (SSBN 826) program currently
aflucrpales tz fiew uailtsuc riltssfle suornannes. vve perrorrn oesrgn worK as a suoconrractor Io trteclflc troal, ano wg nave gnlereo tnlo a leamlng
agreement with Electric Boat to build modules for the entire Columbia class (SSBN 826) submarine program that leverages ovr Virginia class (SSN 774)
experience. Contract award for the first lwo Columbia class submarines (SSBN 826 and SSBN 827) and construction start of the first Colurnbla class
(SSBN 826) submarine occured in late 2020. ln 2023, we were awarded a contract modification for longJead-time material and advance construction in
support of five additional Columbia class (SSBN 826) boats, also referred to as Build ll of the class.

        Naval Nuclear Support Servrces

Newport News provides additional services to and in support of the U.S. Navy, ranging from services supporting the Navy's canier and submarine fleets
to maintenance services at U.S. Navy training facilities. Fleet support services include design, construction, maintenance, and disposal activities for in-
service U.S. Navy nuclear ships worldwide through mobile and in-house capabilities. We also provide maintenance services on nuclear reactor
prototypes, such as those at the Kenneth A. Kesselring Site, a research and development facility in New York that supports the U.S. Navy.
Mission Technologies

Our Mission Technologies segment develops integrated solutions that enable today's connected, all-domain force. Our capabilities include CSISR
systems and operations; the application of Artificial lntelligence ('Al") and machine learning to battlefield decisions; defensive and offensive cyberspace
strategies and electronic warfare ("CEW&S"); live, virtual, constructive solutions {"LVC"); unmanned, autonomous systems; fleet sustainment; and
critical nuclear operations. Our domain expedise and advanced technologies support our mission partners across the globe.




                                                                             J
                        Case 3:24-cv-00496-RNC Document 45 Filed 07/16/24 Page 22 of 23

GLOSSARY OF PROGRAMS

lncluded below are brief descriptions of some of the programs discussed in this Annual Report on Form 10-K.
Program Name                                                  Prosram Description
Aircraft carrier RCOH                                         Perform refueling and complex overhaul ('RCOH") of nuclear-powered aircraft carriers,
                                                              which is required at the. mid-point of their 50-year tife cycle. USS John C. Stennis (CVN
                                                              74) arrived at Newport News for the start of its RCOH in May 2Q21, and USS Geoige
                                                              Washington (CVN 73) was redelivered to the U.S. Navy in May 2023.
America class (LHA 6) amphibious assault ships                Design and build large deck amphibious assault ships that provide foruvard presence
                                                              and power projection as an integral part of joint, interagency and multinational maritime
                                                              expeditionary forces. The America class (LHA 6) ships, together with the Wasp class
                                                              (LHD 1 ) ships, are the successors to the decommission ed Tarawa class (LHA 1 ) ships.
                                                              The America class (LHA 6) ships optimize aviation operations and support capabilities.
                                                              We are currently constructing Bougainville (LHA B) and Fallujah (LHA 9). ln 2023, we
                                                              were awarded a long-lead-time material contract for LHA 10 (unnamed).
Arleigh Burke class (DDG 51) destroyers                       Build guided missile destroyers designed for conducting anti-air, anti-submarine, anti-
                                                              surface, and strike op_erations. The Aegis-equipped Arleigh Burike class (DDG 51)
                                                              destroyers are the U.S. Navy's primary surface combatant, and have been constiucted
                                                              in variants, allowing technological advances during construction. We delivered USS
                                                              Frank E. Petersen Jr. (DDG 121), Lenah H. Sutcliffe Higbee (DDG 123), and Jack H.
                                                              Lucas (DDG 125)in 2021,2022, and 2023, respectively. We have contracts to
                                                              construct the following Ateigh Burke class (DDG 51) d6stroyers: Ied Stevens (DDG
                                                               128),JeremiahDenton (DDG 129), GeorgeM. Nea/(DDG i31), SamNunn(DDc 133),
                                                              Thad Cochran (DDG 135), John F. Lehman (DDG 137), Telesforo Trinidad (DDG 139),'
                                                               Ernest E. Evans (DDG 141 ), and Charles J. French (DDG 142).
Columbia class (SSBN 826) submarines                          Design and
                                                              submarines
                                                              and surviva
                                                              a

                                                                                   a        oao
                                                              enlire Columbia class (SSBN dzoJ submarine program that leverages our Virgrnla class
                                                              (SSN 774) experience. We have been awarded contracts from Electric Boal for
                                                              integrated product and process development, providing long-lead-time material and
                                                              advance construction, and construction of the first two boats of lhe Columbra class
                                                              (SSBN 826) submarine program. Construction of the first Columbia class (SSBN 826)
                                                                                                                                                  '
                                                              submarine began in 2020. ln 2023, we received an award modification for'longlead-
                                                              time material and advance construction for the next five boats.

USS Gerald R. Ford class (CVN 78) aircraft carriers           Design and construction for the Ford class program, which is the aircraft carrier
                                                              replacement program for the decommissioned Enterprise (CVN 65) and Nimilz class
                                                              (CVN 68) aircrafl carners. USS Gerald R. Ford (CVN 78), the first ship of the Ford
                                                              class, was delivered to the U.S. Navy in the secbnd quaiter of 2017. in June 2015, we
                                                              were awarded a contract for the detail design and construction of John F. Kennedy
                                                              (qVN i9), following several years of engindering, advance construction, and purchase
                                                              of long-lead-time components and material. ln addition, we have received awards for
                                                              detail design and. construction of Enterprse (CVN 80) and Doris Miller (CVN 81). This
                                                              category also includes the class' non-recurring engineering. The class is expected to
                                                              bring improved warfighting capability, quality of life improvements for sailors, and
                                                              reduced life cycle costs.




                                                                         51
                         Case 3:24-cv-00496-RNC Document 45 Filed 07/16/24 Page 23 of 23

Legend class National Security Cutter                               Design and build the U.S. Coast Guard's National Securitv Cutters ("NSCs"). the
                                                                    largest and most technically advanced class of cutter in tlie U.S. Cdast Guald. The
                                                                    NSC is equipped to carry out maritime homeland security, maritime safety, protection of
                                                                    natural resources, maritime mobility, and national defens-e missions. Theie'were 11
                                                                    ships planned for this program, of which the first ten ships have been delivered, and
                                                                    Friedman (NSC 11) is currently under construction.
Naval nuclear support services                                      Provide services to and in support of the U.S. Navv. ranging from qgryice-q supporting
                                                                    the..Navy's carrier and submdrine fleets to mainten'dnce'seirices at U.S. Navf irainin!;
                                                                    facilities. Naval nuclear support services include design, construction, maintehance,
                                                                    and disposal activities for in-service U.S. Navy nuclear ships woddwide throuqh mobile
                                                                    and in-house capabilities. Services include maintenance sbrvices on nuclearieactor
                                                                    prototypes.
Nuclear and environmental services
                                                                   Supports the national security mission of the Department of Energy ("DoE") through the
                                                                   management and operation of DoE sites, as well as the safe cleanup of legacy- waste
                                                                   across the country. We meet our clients' touqhest nuclear and environmenTal
                                                                   challenges and aie positioned to serye the g-rowing commercial nuclear power plant
                                                                   decommissioning market. We participate in several joint ventures, including Newport
                                                                   News Nuclear BWXT Los Alamos, LLC (' N3B"), Mi6sion Support'and Tesiserviies,
                                                                   LLC (.'MSTS"), and Savannah River Nuclear Solutions, LLC (iSRNS'), and we are an
                                                                   integrated subcontractor to Triad National Security. N3B was awarded the Los Alamos
                                                                   Legacy Cleanup Contract at the DoE/National Nui;lear Securitv Administration's Los
                                                                   Alamos National Laboratory. MSTS was awarded a contract for site management and
                                                                   operations at the Nevada National Security Site. SRNS provides site manaqement and
                                                                   oirerations at the DoE's Savannah River Site nearAiken, South Carolina. Tiiad
                                                                   provides site management and operations at the DoE's Los Alamos National
                                                                   Laboratory.
San Antonio class (LPD 'l 7) amphibious transport dock                                                                                        that
ships
                                                                                                                                                     Readiness
                                                                                                                                       to    U.S          21 st
                                                                                                                                              th
                                                                                                    we
                                                                   were awarded a long-lead-time material contract for                                      we
                                                                   received an award modification for the detail design and
                                                                   (LPD 32). We are currently constructin g Richard M. McCool Jr. (LPD
                                                                   (LPD s0), and Piftsburgh (LPD 31).
Virginia class (SSN 774\ fasl attack submarines                    Construct attack submarines as the principal subcontractor to Electric Boat. The
                                                                   Virginia class (SSN 774)is a post-Cold War design tailored to excel in a wide range of
                                                                   warfighting missions, including anti-submarine and surface ship warfare; special
                                                                   operation forces: skike; intelligence, surveillance, and reconnaissance; cairier and
                                                                   expeditionary strike group support; and mine warfare.

ITEM 7A. QUANTITATIVE AND QUALITATIVE DISCLOSURES ABOUT MARKET RISK

We are exposed to certain market risks, including those relating to interest rates and inflation.

/nferest Rales - Our floating rate financial instruments subject to interest rate risk include a Term Loan, a $1.5 billion Revolving Credit Facility, and a $1
billion commercial paper program. As of December 31 ,2023, we had $145 million outstanding on the Term Loan and no indebtedness outstanding
under our Revolving Credit Facility or our commercial paper program. Based on the amounts outstanding under our Term Loan as of December 31,
2423, an



                                                                               52
